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       Balancing the seriousness of Palmer’s conduct against his lack of criminal history,
timely acceptance of responsibility, and apparent remorse, a nine year sentence and
twenty year term of supervised release is appropriate. The government is requesting a
downward variance of more than three and a half years below the bottom of the
sentencing guidelines range (151‐188 months). Any further variance would be
inappropriate, as it would fail to: (1) reflect the seriousness of the offense, (2) promote
respect for the rule of law, (3) provide adequate deterrence, (4) protect the public, and
(5) recognize the harm that Palmer’s actions have caused to the child victims depicted in
the hundreds of images and videos of child pornography he possessed and distributed
and the other victims of his crime




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I. The Sentencing Guidelines.

       The parties and the Presentence Investigation Report agree that Palmer’s final
offense score is 34 and that he has a criminal history category of I. His guidelines range
is therefore 151 to 188 months, significantly higher than the government’s
recommendation of 108 months.

II. The Offense Conduct.

       Investigators at Homeland Security Investigations received reports from Kik
advising that multiple accounts using similar “anonjohnny” usernames had uploaded at
least one image of child pornography or child‐sensitive material between April 2019 and
September 2019. The usernames included “anonjohnny2”, “anonjohnny654321”,
“anonjohnny80”, “anonjohnny72”, and “anonjohnny9800”. Each time after Kik detected
the child exploitive material, it shut down the offending accounts.

       Investigators traced the Internet Protocol (IP) address linked to each account to
Mathew Palmer’s Verizon account. The Kik accounts were also accessed by IP addresses
that resolved to the State of Maryland, demonstrating that the user of the accounts was
accessing the materials from state government internet services.

       On August 11, 2020, investigators executed a search warrant at Palmer’s residence
in Severna Park.
                                                                     Investigators seized
several electronic devices, including Palmer’s laptop and personal cell phone, an iPhone.

       Palmer’s personal cell phone was logged into a new Kik account “anonjohn1112”.
Palmer used this Kik account to engage in chats with several other Kik users concerning
child exploitation. For example, in a conversation with “Brian”, in his very first message
Palmer said, “Hi I have naughty thoughts about my teen daughters” whom Palmer said
were 13 and 17 years old. Palmer then sent images to “Brian” of two minor girls

representing that these girls were his daughters. Palmer told Brian “I want to use them
as my sluts” and claimed that his daughters “have taken my cock.” In another




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conversation with user “hnytaboos” Palmer stated that his preference for children was
for those aged eight and higher. Palmer again sent pictures of the same two minor girls
                                     again representing them to be his own daughters.


       In summary, Palmer showed a clear sexual interest not just in young children, but
in incest and initiated conversations with other people on the internet about sexual abuse
of one’s own daughters. Portions of another chat are below.




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                                         exposing her vagina. The minor has one
                                         hand wrapped around the penis of an adult
                                         male who is orally penetrating her.
Camera Roll             IMG_2548_6.JPG   An image depicting a prepubescent female,
                                         reasonably believed to be under the age of
                                         five. The minor is lying on her back on an
                                         orange blanket and pillow. She is wearing
                                         makeup, to include bright lipstick, and has
                                         pink flowers in her hair. An adult male is
                                         situated between her spread legs and is
                                         vaginally penetrating her with his erect
                                         penis.
Camera Roll             IMG_3075_1.mp4   A video, approximately one minute in
                                         length, depicting a naked prepubescent
                                         female, lying on a bed. The camera zooms
                                         in between her spread legs, focusing on her
                                         vagina. The minor female reaches down and
                                         spreads the lips of her vagina. The female
                                         then flips over onto her hands and knees
                                         and faces away from the camera. The
                                         camera zooms in on her vagina and anus.
                                         The minor reaches back and spreads her
                                         buttocks. The camera focuses on the erect
                                         penis of an adult male. The minor female
                                         then straddles the adult male and he
                                         penetrates her with his erect penis.
Camera Roll             IMG_5897.mp4     A video, approximately one minute and
                                         fifty-six seconds, depicting a minor female
                                         being orally penetrated by an adult male.
                                         The video cuts to an adult male anally
                                         penetrating the prepubescent female while
                                         the second adult male continues to orally
                                         penetrate her. The person holding the
                                         camera, who had previously been orally
                                         penetrating the minor, begins to anally
                                         penetrate the minor. As he continues to
                                         penetrate her anus, the adult male spreads
                                         the lips of the minor’s vagina.
Wickr                   trim.5A9AEA57-   A video, approximately fifty-one seconds in
                        ECAC-41E8-AEF9-  length, of a prepubescent female wearing
                        50A5AADC6097.MOV black stockings. Her legs are tied with
                                         yellow ropes and her legs are spread,
                                         exposing her vagina. An adult male is
                                         digitally penetrating the minor’s vagina.
                                         The camera shifts, showing the minor’s
                                         hands tied above her head with yellow rope

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